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                                        AFFIDAVIT

         I, Rebecca Shea, being duly sworn, do hereby depose and say:

         1.     Your affiant has been a Special Agent (SA) with Homeland Security

Investigations (HSI) since 2009. As an HSI Special Agent, your affiant completed the Federal

Criminal Investigator Training Program (CITP) and the HSI Academy training, your affiant was

instructed in all phases of criminal investigations such as: Criminal Law, Search and Seizure,

Investigative Techniques, Firearm Proficiency, and Evidence Handling. Your affiant has led and

participated in numerous investigations of crimes involving drug smuggling, firearms trafficking,

immigration, and other violations.

         2.     Your affiant has been the case agent on multiple contraband smuggling

investigations to include firearms trafficking and narcotics smuggling. Your affiant has been the

affiant of federal Title III wire taps and the case agent on several Organized Crime and Drug

Enforcement Task Force (OCDETF) cases. Your affiant is experienced with conducting

surveillance, serving as the control agent for confidential sources, and investigating violations of

the Immigration and Nationality Act (INA).

         3.     This affidavit is being submitted for the purpose of establishing probable cause

that

         a.     Cristian MELENDEZ also known as (a/k/a) Yobani PERAZA Reyes, a/k/a Eric

MONTES DE OCA-Melendrez a/k/a Eric MELENDREZ a/k/a Eric MONTES a/k/a Luis

Alberto MENDIVIL-Valenzuela (hereinafter referred to as MELENDEZ), and

         b.     Ismerio GARCIA-Ontivaro a/k/a Agustin COTA-Covarrubio (hereinafter referred

to as GARCIA-Ontivara)



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have violated 21 U.S.C. §§ 841 (a) (1) and (b)(1)(B)(ii) possession with intent to possess and

distribute a mixture or substance containing a detectable amount of cocaine, a Schedule II

controlled substance.

       4.      The information in this affidavit is based on my personal knowledge, information

provided by other law enforcement officers and individuals, and the reports and memoranda of

other law enforcement officers. The information in this affidavit is provided for the limited of

establishing probable cause in connection with this application for a criminal complaint and an

arrest warrant. This affidavit does not include all the information gathered during this

investigation. The following information is based on my personal knowledge, the knowledge of

other agents and officers, as well as investigations conducted by other law enforcement entities.

                                 PROBABLE CAUSE DRUG TRAFFICKING

       5.      On May 31, 2025, Homeland Security Investigations (HSI) Columbus was

notified of a white 2013 Honda Accord (VIN #1HGCR2F81DA182692) displaying Arizona

registration HVA150 being transported on a commercial car hauler, destined for Columbus,

Ohio. The vehicle had been searched by law enforcement and discovered to contain what

appeared to be a hidden after-market compartment located near the exhaust pipe. Investigators

discovered the access for the compartment to be inside the center console which contained a trap

door near the gears. The hidden compartment did not contain any contraband. The compartment

ran the length of the vehicle from the dashboard to the rear seats.

       6.      On June 2, 2025, investigators applied for a tracking warrant for the white Honda

Accord, and it was issued by the Honorable U.S. Magistrate Judge Chelsey M. Vascura for the

Southern District of Ohio. On this same day, the GPS tracker was deployed on the vehicle and

delivered to the recipient as indicated on the bill of lading.

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       7.      On or about June 10, 2025, investigators were conducting surveillance on the

2013 white Honda Accord and observed that the registration of the vehicle had been changed to

Ohio registration KRF8984.

       8.      A search of the Ohio Bureau of Motor Vehicles revealed that on or about June 4,

2025, the vehicle had been titled and issued the aforementioned Ohio registration. The registered

owner of the vehicle is listed as Luis Alberto MENDIVIL-Valenzuela.

       9.      On or about June 19, 2025, investigators received notification from the GPS

tracking device that the vehicle was traveling east bound on Interstate 70 and notified the Ohio

State Highway Patrol (OSP) of the vehicle’s direction of travel.

       10.     OSP Trooper Shawn Milburn observed a white 2013 Honda Accord displaying

Ohio registration KRF8984 traveling east bound on Interstate 70 in Guernsey County, Ohio.

Trooper Milburn initiated a traffic stop at mile marker 175 on the vehicle for a window tint

violation. The vehicle was occupied by two (2) Hispanic males who provided the Trooper with

fraudulent Mexican Driver’s Licenses. The passenger of the vehicle’s fake ID bore the name

Luis Alberto MENDIVIL-Valenzuela.

       11.     Troopers deployed Airia, a certified narcotics K9, to conduct an open-air sniff on

the vehicle. The K9 indicated a positive alert for the presence of narcotics.

       12.     During the subsequent search of the vehicle, Troopers located an aftermarket

compartment along the exhaust tunnel accessed through a trapdoor in the center console of the

vehicle. The aftermarket compartment contained three (3) bricks of a white powdery substance

that field tested positive for the presence of cocaine. The three (3) bricks had a total approximate

weight of 3,633.00 grams.



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        13.      The occupants of the vehicle were transported to OSP Guernsey County-

Cambridge Patrol Post and OSP contacted Homeland Security Investigations (HSI) for further

identification of the subjects.

        14.      HSI Special Agents responded and results from biometric queries identified the

driver as MELENDEZ and the passenger as GARCIA-Ontivaro—both Mexican nationals with

prior orders of removal and without documents allowing them to be lawfully present in the

United States.

        15.      Based on the foregoing facts, there is probable cause to believe that on or about

June 19, 2025, in the Southern District of Ohio, MELENDEZ and GARCIA-Ontivaro,

knowingly or intentionally, manufactured, distributed, or dispensed or possessed with intent to

manufacture, distribute or dispense a mixture or substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841 (a) (1) and

(b)(1)(B)(ii).

                                                 REBECCA Digitally      signed by
                                                               REBECCA L SHEA
                                                               Date: 2025.06.20
                                                 L  SHEA
                                               ________________________________
                                                               07:43:09 -04'00'
                                               Rebecca Shea
                                               Special Agent – HSI


Subscribed and sworn to before me on this 20th day of June, 2025.


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HON.   CHELSLS SEY
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